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6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                    )     Case №: 1:20-CR-00175-7-DAD
                                                   )
9                     Plaintiff,                   )                    ORDER
                                                   )               APPOINTING COUNSEL
10            vs.                                  )
                                                   )
11    ANNA CONCEPCION JIMENEZ-                     )
      AMBRIZ,                                      )
12                                                 )
                      Defendant.                   )
13
14            The above named Defendant has, under oath, sworn or affirmed as to her financial
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     inability to employ counsel or has otherwise satisfied this Court that she is financially unable to
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     obtain counsel and wishes counsel be appointed to represent her. Therefore, in the interests of
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     justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
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19            IT IS HEREBY ORDERED that Carrie C. McCreary be appointed to represent the above

20   defendant in this case effective nunc pro tunc to October 13, 2020.

21            This appointment shall remain in effect until further order of this court.
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23   IT IS SO ORDERED.

24   Dated:     October 14, 2020
                                                         UNITED STATES MAGISTRATE JUDGE
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